IN THE UNITE¥) S'I`ATES DISTRICT COURT FOR TI'IE
WESTERN I)ISTRICT OF NORTH CAROLINA

 

  
 

CHARLOTTE DIVISION
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SECURIT:{ES AND EXCHANGE FEB 52ng r:l_.l:\_r
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Civil Action
DAWN wRIGHT-oLIvARsS and N<). 3 f i' SCV 700 "(”C"'\
DANIEL oLIvAREs,

De;fendants,

 

FINAML JUDGM§NT AS 'I`O MNDANT DANIEL OLIVAH§MI§_§

The Securities and Exchange Cornmission having filed a Complaint and Defendant
Daniel Olivares having entered a general appearance; consented to the Court’s jurisdiction over
Defendant and the subject matter of this action; consented to entry of this Final Judgrnent;
waived findings of fact and conclusions of law; and waived any right to appeal from this Final
Judgment: 7

I.

IT §§ HEREBY ORDERED, ADJ'UDGED, AND DECREED that Defendant and
Defendant’-s agents, servants, employees, attorneys, and all persons in active concert or
participation with them who receive actual notice of this Final Judgment by personal service or

otherwise are permanently restrained and enjoined from violating, directly or indirectly, Section

lO(b) of the Securities Exchange Act of 1934 (the “Exchange Act”) [15 U.S.C. § 78j(b)] and
Ruie idb-5 promulgated thereunder [17 C.F.R. § 240.}0¥)~5], by using any means or
instrumentality of interstate commerce, or of the mails, or of any facility of any national

securities exchange, in connection with the purchase or sale of any security.

II.

l'l` lS HEREBY FUR'YHER ORDERED, ADIUDGED, AND DECREED that Defendant
and Defendant’s agents, servants, cmployees, attorneys, and all persons in active concert or
participation with them Who receive actual notice of this Finai ludgment by personal service or
otherwise are permanently restrained and enjoined from violating, directly or indirectly, Section
l7(a) of the Securities Act of 1933 (the “Securities Act”) [15 U.'S.C. § 77q(a)j in the offer or sale
of any security by the use of any means or instruments of transportation or communication in

interstate commerce or by use of the mails

III.

IT IS FUR'I`I“IER ORBERED, ADJUDGBD, AND DECREED that Defendant and
Dei`endant’s agents, servants, employees, attorneys, and ail persons in active concert or
participation With them who receive actual notice of this Judgment as to Olivares by personal
service or otherwise are permanently restrained and enjoined from directly or indirectly
participating in, or facilitating the solicitation of any investment in any security or in the
offering of any security, provided, however, that such injunction shall not prevent Defendant

from purchasing or selling securities listed on a national exchange for his own personal account.

IV.

IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that Defendant shall
disclaim and reiinquish aii legal and equitable right, title, claim, or interest in Rex Venture Group
LLC, inciuding: all subsidiaries, Whether incorporated or unincorporated; all businesses or
business names under Which it does business and; and all assets in Rex Venture Group LLC’s

possession, custody or control, including assets heid in accounts in any financial institution

V.
iT IS HEREBY FURTHER ORDERED, ADJUDGED, AND DECREED that Defendant
is liable for disgorgement of $3,152,55.260, representing profits gained as a result of the conduct
alleged in the Compiaint, together with prejudgment interest thereon in the amount of
$120,378.38, for a total of $3,272,934.58. Defendant’s payment of disgorgement and
prejudgment interest shall be deemed satisfied upon entry of a restitution order and/or forfeiture
order requiring Defendant to pay an amount equal to or greater than $3,272,934.58 in Unired
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States v. Dam'el Olivares, Crim. No. m___ (W.D.N.C.).
VI.
i'l` IS FURTHER ORDERED, AD§U}§)GED, AND DECREED that the Consent is

incorporated herein with the same force and effect as if fully set forth herein, and that Defendant

shelf comply with all of the undertakings and agreements set forth therein.

VII.

IT IS FURTHER_ ORDER.ED, ADJUDGED, AND DECREED that, soiely for purposes of
exceptions to discharge set forth in Section 523 of the Bankruptcy Code, ll U.S.C. §523, the
allegations in the Complaint are true and admitted by Defendant, and further, any debt for
disgorgement, prejudgment interest, civil penalty or other amounts due by Defendant under this
Finai Judgment or any other judgment, order, consent order, decree or settlement agreement
entered in connection With this proceeding, is a debt for the violation by Defendant of the federal
securities laws or any regulation or order issued under such laws, as set forth in Section

523(a)(19) of the Bankruptcy Code, ll U.S.C. §523(a)(l9).

VIII.
IT lS PURTHER ORDERBD, AI)JUDGED, AND DECREED that this Court shall retain

jurisdiction of this matter for the purposes ot` enforcing the terms of this Final ludgment.

Dated:g 22 24¢£ ,MZ/

 

